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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                         Case No.: 1:18-cv-24190-RS


  WILLIAM O. FULLER, and
  MARTIN PINILLA, II,

          Plaintiffs,

  v.

  JOE CAROLLO,

        Defendant.
  _______________________________/

                                                    ORDER

          THIS CAUSE is before the Court upon Plaintiffs’ Motion for Issuance of Continuing Writ

  of Garnishment Against Salary or Wages of Joe Carollo (ECF No. 511) and Plaintiffs’ Motion to

  Strike Defendant’s Claim of Exemption and Request for Hearing, or in the Alternative, Motion for

  Extension of Time to Respond (ECF No. 528). Defendant filed Responses (ECF Nos. 533, 545),

  and Plaintiffs filed Replies (ECF Nos. 575, 579). 1 This matter has been referred to the undersigned

  United States Magistrate Judge, pursuant to 28 U.S.C. § 636 and the Magistrate Judge Rules of the

  Local Rules of the Southern District of Florida, by the Honorable Rodney Smith, United States

  District Judge, for all non-dispositive matters and for a Report and Recommendation on any

  dispositive matters regarding Plaintiffs’ Motion for Issuance of Continuing Writ of Garnishment.

  (ECF No. 514). Upon consideration of the Motions, Responses, Replies, and being otherwise fully

  advised in the premises, Plaintiffs’ Motion for Issuance of Continuing Writ of Garnishment


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    Defendant’s Response (ECF No. 533) and Plaintiffs’ Reply (ECF No. 579) additionally address Plaintiffs’ Motion
  for Issuance of Writ of Execution (ECF No. 516).

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  Against Salary or Wages of Joe Carollo (ECF No. 511) is GRANTED; and Plaintiffs’ Motion to

  Strike Defendant’s Claim of Exemption and Request for Hearing, or in the Alternative, Motion for

  Extension of Time to Respond (ECF No. 528) is DENIED, as withdrawn.

  I.     BACKGROUND

         On June 1, 2023, Plaintiffs obtained a Final Judgment against Joe Carollo (“Defendant”)

  in the amount of $63,500,000.00. (ECF No. 479). On June 29, 2023, Plaintiffs moved to clarify

  the final judgment, under Federal Rule of Civil Procedure 60(a), to reflect that the judgment is

  against Defendant in his official capacity as well as against Defendant in his individual capacity.

  (ECF No. 504). Alternatively, Plaintiffs moved to amend the judgment under Federal Rule of

  Civil Procedure 59(e), and/or to amend the Complaint to reflect that the Court’s Final Judgment

  and award of compensatory damages pertains to Defendant both in his individual capacity and in

  his official capacity as a Commissioner of the City of Miami.

         Plaintiffs now move for the issuance of a Continuing Writ of Garnishment against the

  salary or wages of Defendant. Plaintiffs represent that Defendant does not have in his possession

  sufficient visible property upon which a levy can be made to satisfy the Final Judgment.

         Shortly after Plaintiffs filed their Motion for Issuance of Continuing Writ of Garnishment

  Against Salary or Wages of Joe Carollo, Defendant filed a Notice of Filing Defendant’s Claim of

  Exemption and Request for Hearing. (ECF No. 518). Defendant claimed an exemption for being

  the head of family wages and requested a hearing. Plaintiffs move to strike Defendant’s Claim of

  Exemption as premature.

  II.    DISCUSSION

         A.      Finality of Judgment

         Defendant argues in his Response that Plaintiffs’ Motion for Issuance of Continuing Writ



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  of Garnishment Against Salary or Wages of Joe Carollo is premature because the judgment is not

  yet final in this case. Defendant argues that Plaintiffs’ Motion to Clarify Judgment renders the

  judgment not final because Plaintiffs are seeking to modify the judgment.

          Plaintiffs argue that Defendant is conflating when a judgment is final for purposes of appeal

  versus when it is final for purposes of execution. Plaintiffs argue that their motion to clarify the

  judgment does not impact the judgment’s finality for purposes of execution, even if their motion

  may render the judgment not appealable.

          Garnishment procedures “must accord with the procedure of the state where the court is

  located, but a federal statute governs to the extent it applies.” Fed. R. Civ. P. 69(a). Defendant

  contends that “a judgment has to be appealable as well as final in order to serve as the basis for a

  writ of garnishment. [But] [t]hat is not the general rule in Florida.” Barniv v. BankTrust, 579 F.

  App’x 719, 721 (11th Cir. 2014) (citing E. Ave., LLC v. Insignia Bank, 136 So. 3d 659, 661 (Fla.

  2d DCA 2014)). Florida courts have dismissed an appeal from a non-final order while recognizing

  that the order contained the traditional language of finality, “for which let execution issue,” making

  the judgment “immediately executable.” Id. (citing Raymond James & Assocs., Inc. v. Godshall,

  851 So. 2d 879, 880 (Fla. 1st DCA 2003)). “That decision meant that ‘the appellant was unable

  to obtain review or a supersedeas of the order while the judgment creditor was able to pursue its

  collection by execution.’” Id. (citing E. Ave., LLC, 136 So. 3d at 661). 2

          Here, the judgment entered by the District Court contains the language, “For all of the

  foregoing execution shall issue,” which permits Plaintiffs to execute on the judgment. See (ECF

  No. 479). While Defendant’s appeal is stayed pending disposition of post-trial motions, this does



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    In East Avenue, LLC, the Court noted that the Third District Court of Appeals’ approach differed from the First
  District Court of Appeals in permitting “the judgment debtor to appeal the judgment and post a supersedeas bond to
  protect against execution.” 136 So. 3d at 661.

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  not impede Plaintiffs’ ability to execute on the judgment under Florida law, as the judgment is

  final for that purpose. Accordingly, Plaintiffs’ Motion is not premature.

         B.      Motion for Continuing Writ of Garnishment

         Having found that Plaintiffs’ Motion is not premature, the undersigned must determine if

  Plaintiffs’ Motion accords with Florida state procedure. See Fed. R. Civ. P. 69(a). State law on

  garnishment provides an available remedy for seizing property to satisfy a federal judgment. Fed.

  R. Civ. P. 64. The garnishment procedures “must accord with the procedure of the state where the

  court is located, but a federal statute governs to the extent it applies.” Fed. R. Civ. P. 69(a).

         In Florida, garnishment proceedings are governed by Chapter 77 of the Florida Statutes.

  See Fla. Stat. § 77.01 et seq. “Garnishment proceedings are governed by statute and must be

  strictly construed.” Martinez v. Golisting.com, Inc., 233 So. 3d 1190, 1192 (Fla. 3d DCA 2017).

  A continuing writ of garnishment is a writ issued to garnish a person’s salary or wages.

  Tradewinds, Ltd. v. Grupo Dolphin Discovery, No. 1:17-MC-23070, 2022 WL 2230786, at *1

  (S.D. Fla. June 17, 2022) (distinguishing between applications for writs of garnishment and

  continuing writs of garnishment and denying without prejudice motions for continuing writs of

  garnishment because the motions sought to garnish judgment debtors’ funds rather than their salary

  or wages). The statute provides:

         [I]f salary or wages are to be garnished to satisfy a judgment, the court shall issue
         a continuing writ of garnishment to the judgment debtor’s employer which provides
         for the periodic payment of a portion of the salary or wages of the judgment debtor
         as the salary or wages become due until the judgment is satisfied or until otherwise
         provided by court order.

  Fla. Stat. § 77.0305. “The writ shall require the garnishee to serve an answer on the plaintiff within

  20 days after service of the writ stating whether the garnishee is indebted to the defendant at the

  time of the answer, or was indebted at the time of service of the writ.” Fla. Stat. § 77.04. The

  amount specified in Plaintiffs’ Motion also must be included in the writ. Id.
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         Under Florida Statutes § 77.02, there must be a judgment for a writ of garnishment to issue

  in any action sounding in tort. The District Court entered a judgment in this case on June 1, 2023

  in favor of Plaintiff William O. Fuller, and against Defendant, Joe Carollo, in the amount of

  $34,300,000.00, with interest at the statutory rate from the date of the judgment; and in favor of

  Plaintiff Martin Pinilla II, and against Defendant, Joe Carollo, in the amount of $29,200,000.00.

  (ECF No. 479).

         Under Florida Statutes § 77.03, Plaintiffs must file “a motion (which shall not be verified

  or negative defendant’s exemptions) stating the amount of the judgment.” Plaintiffs have filed a

  motion, which states the total amount of the judgment, $63,500,000.00. (ECF No. 511). Under

  Florida Statutes § 77.0305, the continuing writ of garnishment must be directed to the judgment

  debtor’s employer. Plaintiffs move the Court for issuance of a continuing writ of garnishment as

  to the City of Miami.

         The form for a continuing writ of garnishment is set forth in Florida Rule of Civil Procedure

  Form 1.907(b). Plaintiffs have attached a completed version of that form to their Motion. (ECF

  No. 511-2). However, Plaintiffs have submitted the form with a signature block for the United

  States District Court Judge. Form 1.907(b) is to be signed by the Clerk of Court or a Deputy Clerk.

  Accordingly, within TWO (2) DAYS of this Order, Plaintiffs shall file an amended Form 1.907(b)

  with the proper signature block as provided in Form 1.907(b).

         Under Florida Statutes § 77.041, upon application for a continuing writ of garnishment, if

  the defendant is an individual, the Clerk of Court is required to attach to the writ the “Notice to

  Defendant” provided in Florida Statutes § 77.041. Plaintiffs have not attached the required notice

  that the Clerk of Court must issue to Defendant Joe Carollo. See Odes v. Harris, No. 12-61561-

  CIV, 2018 WL 11428146, at *1 (S.D. Fla. July 11, 2018) (“The Court previously denied the



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  Plaintiffs’ initial motion for the issuance of a continuing writ of garnishment because the Plaintiffs

  had not included a Notice to Defendant for the Clerk to issue along with the proposed writ as

  required by Fla. Stat. § 77.041(1). . . .”). Accordingly, within TWO (2) DAYS of this Order,

  Plaintiffs shall file the required Notice to Defendant provided in Florida Statutes § 77.041 before

  the Clerk of Court issues the Continuing Writ of Garnishment.

          C.     Plaintiffs’ Motion to Strike

          Plaintiffs argue that Defendant has prematurely filed a claim of exemption from

  garnishment as a continuing writ of garnishment has not been issued in this case. Defendant asserts

  that he filed his Claim of Exemption “in an effort to conserve judicial resources and to obviate

  Plaintiffs’ incursion of unnecessary attorneys’ fees and costs which they will likely seek to add to

  the judgment.” (ECF No. 545 at 2). Defendant argues that Plaintiffs only cite to authority that

  provides a deadline by which a claim of exemption must be filed, but Plaintiffs do not cite to any

  authority that Defendant must wait to claim an exemption.

          “[I]f salary or wages are to be garnished to satisfy a judgment, the court shall issue a

  continuing writ of garnishment to the judgment debtor’s employer . . . .” Fla. Stat. § 77.0305.

  Once the Court has issued a writ of garnishment, if the defendant is an individual, the Clerk of

  Court is required to attach a Notice to Defendant to the issued writ. This Notice alerts a defendant

  that,

          IF AN EXEMPTION FROM GARNISHMENT APPLIES TO YOU AND YOU
          WANT TO KEEP YOUR WAGES, MONEY, AND OTHER PROPERTY FROM
          BEING GARNISHED, OR TO RECOVER ANYTHING ALREADY TAKEN,
          YOU MUST COMPLETE A FORM FOR CLAIM OF EXEMPTION AND
          REQUEST FOR HEARING AS SET FORTH BELOW AND HAVE THE FORM
          NOTARIZED. IF YOU HAVE A VALID EXEMPTION, YOU MUST FILE THE
          FORM WITH THE CLERK’S OFFICE WITHIN 20 DAYS AFTER THE DATE
          YOU RECEIVE THIS NOTICE OR YOU MAY LOSE IMPORTANT RIGHTS.

  Fla. Stat. § 77.041 (emphasis added).

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         Plaintiffs filed a Motion for issuance of a continuing writ of garnishment on July 6, 2023.

  Defendant filed his Claim of Exemption six days later. At the time of filing Defendant’s Claim of

  Exemption, the Court had yet to rule on Plaintiffs’ Motion for issuance of a continuing writ of

  garnishment. As such, there was no writ of garnishment for Defendant to claim exemption from.

         However, Plaintiffs in their Reply, while maintaining Defendant’s Claim for Exemption is

  premature, represent that they believe the most efficient process going forward is to schedule the

  evidentiary hearing requested by both Parties. In doing so, Plaintiffs have effectively withdrawn

  their request to strike Defendant’s filed Claim of Exemption. While the undersigned recognizes

  that Defendant’s Claim for Exemption was not filed after the writ was issued, as would ordinarily

  occur once a defendant received the notice, the undersigned does not see the merit in striking

  Defendant’s Claim of Exemption at this posture. Instead, and as requested by the Parties, once the

  Continuing Writ of Garnishment is issued, the undersigned will set an evidentiary hearing on

  Defendant’s Claim of Exemption by separate order.

  III.          CONCLUSION

         Accordingly, it is ORDERED AND ADJUDGED that Plaintiffs’ Motion for Issuance of

  Continuing Writ of Garnishment Against Salary or Wages of Joe Carollo (ECF No. 511) is

  GRANTED, and that Plaintiffs’ Motion to Strike Defendant’s Claim of Exemption and Request

  for Hearing, or in the Alternative, Motion for Extension of Time to Respond (ECF No. 528) is

  DENIED, as withdrawn.

         For the reasons set forth above, it is further ORDERED as follows:

         1.       Plaintiffs shall file an amended Form 1.907(b) with the proper signature block and

  the required Notice to Defendant provided in Florida Statutes § 77.041 within TWO (2) DAYS of

  this Order.



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          2.     Once Plaintiffs have complied with the foregoing, the Clerk of Court shall issue a

  continuing writ of garnishment to the City of Miami, which Plaintiffs will provide.

          3.     The Continuing Writ of Garnishment issued by the Clerk of Court shall be

  accompanied by a copy of Plaintiffs’ Motion for Issuance of Continuing Writ of Garnishment

  Against Salary or Wages of Joe Carollo (ECF No. 511) and the judgment entered by the District

  Court (ECF No. 479). The Clerk shall also attach to the Writ the “Notice to Defendant” required

  by Section 77.041(1) of the Florida Statutes once provided by Plaintiffs.

          4.     Plaintiffs shall comply with Florida’s applicable garnishment statutes (Fla. Stat.

  §77.01 et seq.) and file any required certificates of service (see, e.g., Fla. Stat. §§ 77.041(2),

  77.055).

          DONE AND ORDERED in Chambers at Miami, Florida, this 22nd day of November,

  2023.


                                                      LAUREN F. LOUIS
                                                      UNITED STATES MAGISTRATE JUDGE

  cc:     Honorable Rodney Smith
          Counsel of Record




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